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     Federal Defender
2    DOUGLAS BEEVERS, U.S.V.I. Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
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5
     Attorney for Defendant
6    ANTONIO SANCHEZ-GAONA
7
8                          IN THE UNITED STATES DISTRICT COURT
9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,       )       No.    2:11-CR-00118 MCE
11                                   )
                    Plaintiff,       )       STIPULATION AND ORDER
12                                   )       TO RESET MOTION HEARING
          v.                         )
13                                   )
     ANTONIO SANCHEZ-GAONA           )
14                  Defendants.      )       Date: January 12, 2012
                                     )       Time: 9:00 a.m.
15   _______________________________ )       Judge: Hon. Morrison C. England
16
17         The parties request that the date for the hearing on defendant’s
18   motion to suppress be continued from December 8, 2011, to January 12,
19   2012. The Government’s opposition to the motion to suppress will be due
20   on December 29, 2011. The defendant’s optional reply will be due on
21   January 5, 2012.
22         The   reason   for   the   continuance   is   allow   additional   time   for
23   continued preparation and to investigate the facts of the case. The
24   parties agree a continuance is necessary for this purpose, and agree to
25   exclude time under the Speedy Trial Act accordingly.
26   ///
27   ///
28   ///
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1         IT IS STIPULATED that the period from the signing of this Order, up
2    to and including January 12, 2012 be excluded in computing the time
3    within which trial must commence under the Speedy Trial Act, pursuant to
4    18 U.S.C. § 3161(h)(1)(D) and Local Code E, for pretrial motions.
5    Dated: December 7, 2011
                                            Respectfully submitted,
6
                                            DANIEL BRODERICK
7                                           Federal Defender
8
                                            /s/ Douglas Beevers
9                                           DOUGLAS BEEVERS
                                            Assistant Federal Defender
10                                          Attorney for Defendant
                                            ANTONIO SANCHEZ-GAONA
11
12   Dated: December 7, 2011                BENJAMIN B. WAGNER
                                            United States Attorney
13
14                                          /s/ Michael Anderson
                                            MICHAEL ANDERSON
15                                          Assistant United States Attorney
                                            Attorney for Plaintiff
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1                                         ORDER
2           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    hereby ordered that the briefing schedule be changed to the following:
4    the Government's opposition is due December 29, 2011; the defendant’s
5    reply is due January 5, 2012; and the Motion Hearing currently set for
6    December 8, 2011 shall be vacated and reset for January 12, 2012 at
7    9:00am. Based on the representation of defense counsel and good cause
8    appearing therefrom, the Court hereby finds that the failure to grant a
9    continuance in this case would deny defendant reasonable time necessary
10   for effective preparation, taking into account the exercise of due
11   diligence. The Court finds that the ends of justice to be served by
12   granting a continuance outweigh the best interests of the public and the
13   defendant in a speedy trial. It is ordered that time from the date of
14   this Order, up to and including, January 12, 2012 be excluded from
15   computation of time within which the trial of this matter must be
16   commenced   under   the   Speedy   Trial     Act   pursuant   to   18   U.S.C.   §
17   3161(h)(1)(D)and Local Code E, for pretrial motions.
18
     Dated: December 8, 2011
19
20                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
21
                                          UNITED STATES DISTRICT JUDGE
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